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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF VIRGINIA
                                ROANOKE DIVISION

United States of America


       v.                                            Docket No. 7:22-CR-20-1 (EKD)


Laura Elizabeth Wickham

            Defendant’s Motion to Revoke Magistrate’s Order of Detention

       Ms. Wickham is a devoted mother who lives and works in this District and who has

succeeded after a long struggle with overcoming an addiction to opiates. Although she

allegedly admitted to providing drugs to others nearly two years ago, all available evidence

suggests that Ms. Wickham has turned her life around since police searched her home in

April of 2020. Ms. Wickham, by all accounts, was cooperative with police, compliant, and

allegedly admitted to engaging in drug activity. She is not alleged to have engaged in any

criminal or drug activity since. And the government waited two years to arrest her for that

conduct. In those two years, Ms. Wickham went from being a victim of the drug war to a

survivor of it. She is a case study of the best possible outcome for those with opioid

addiction, having taken every step available to her to take back her life and her son in the

face of a debilitating and nation-wide affliction.

       Rather than choosing to arrest Ms. Wickham in April 2020 when it allegedly

uncovered evidence of a crime, the government did nothing, waiting two years to arrest and

then to argue that Ms. Wickham could not be released from jail without unreasonably

endangering the public. If Ms. Wickham had been dealing drugs in the interim, it would

have been on the government’s hands; luckily Ms. Wickham made better choices than those

who now seek to unduly detain her. While the prosecutor’s office stood by during that

period, the police regularly visited Ms. Wickham and attempted to convince her to work for
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them in setting up people with sting operations. Ms. Wickham refused, knowing that her

sobriety might be jeopardized by such conduct, and she instead focused on turning her life

around. Her dedication to sobriety was rewarded with the current charge and the

government’s motion for detention.

       In support of detaining a mother who poses no danger to anyone, the government

relied on her criminal record that included theft, her admitted (and dated) role in the

alleged offense, her current prescription for methadone, and the fact that she used

Naloxone to save 34 people from apparent overdoses. This was tantamount to arguing Ms.

Wickham is a danger to the community because of her honesty, cooperation with law

enforcement, diligence in saving lives, and willingness to seek help for addiction.

       Inexplicably, the Court agreed with the government, without considering how

conditions of release could meaningfully and reasonably assure the safety of the

community, and without considering how the past two years of compliant, lawful behavior

demonstrate that detention is entirely unnecessary. Moreover, the court failed to ensure

that Ms. Wickham even received a fair or prompt hearing. This Court should revoke the

Magistrate’s order of detention and issue an order of release.

            The Court did not provide Ms. Wickham with a fair hearing.

       The Federal Rules of Criminal Procedure were adopted to ensure defendants receive

equitable and impartial opportunities to defend themselves when they are charged with a

crime; indeed, the entire justice system hinges on these principles. Federal courts

implement local Criminal Justice Act plans (“CJA Plans”) to ensure that courts follow

Congressional enactments and Constitutional obligations to provide indigent defendants

with appointed counsel. In combination, CJA plans and the Federal Rules should provide

defendants with fair hearings. Unfortunately, neither the federal rules nor the CJA plan

were followed in this case, and Ms. Wickham did not receive a fair hearing.
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       Antithetical to the most basic conception of rule of law, the injustice began a week

before Ms. Wickham’s arraignment, when she was held for seven days after her arrest

before she saw a magistrate for her detention hearing. The rules require her to be brought

to the court without “unnecessary delay.” See Fed. R. Crim. P. 5(a)(1)(A). The Court’s

calendar shows several opportunities for the court to have scheduled her arraignment

between her arrest on the thirteenth and her eventual arraignment on April 20. Ms.

Wickham has requested the court order a show cause hearing to investigate the delay. As of

now, no evidence supports such an unnecessary or unreasonable delay.

       Further, the local CJA plan repeatedly stresses that counsel should be appointed to

represent defendants prior to the pretrial services interview and that the Office of the

Federal Public Defender be notified promptly after a person’s arrest. See CJA Plan at

IV(B)(1)(b)(i) (requiring the court to inform the federal defender “promptly” upon a person’s

arrest); CJA Plan at IV(B)(1)(d)(i) (requiring “when practicable, the pretrial services officer

will not conduct the pretrial service interview of a financially eligible defendant until

counsel has been appointed”). The Federal Public Defender was not notified of Ms.

Wickham’s arrest for five days, and Ms. Wickham was interviewed without counsel by

pretrial services the very same day she was arrested. The Federal Defender was available

and would have attended the pretrial services interview if it had been appropriately

informed in compliance with the Plan.

       The law is clear that the right to counsel does not attach until a defendant’s “initial

appearance before a judicial officer.” See Rothgery v. Gillespie County, 554 U.S. 191 (2008).

However, nearly all commentary on points recommends appointing counsel earlier and as

soon as possible. See generally Sixth Amendment Center, Early Appointment of Counsel:

The Law, Implementation, and Benefits, 2014 available at

https://sixthamendment.org/6ac/6ACPJI_earlyappointmentofcounsel_032014.pdf. Indeed,
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this Court’s CJA plan recommends counsel be appointed as soon as possible and have the

opportunity to participate in the pretrial services interview. See CJA Plan at at

IV(B)(1)(d)(i); V(C).

       The injustices continued. Ms. Wickham’s detention hearing began with the court

asking the government to give her legal advice that, being given by those seeking to

imprison her would amount at best to recommendation and at worse to threat, over her

attorney’s objection. Nothing within the Federal Rules requires have prosecutors advise

defendants about the various pleas they can enter before accepting a not guilty plea at an

arraignment. Compare Fed. R. Crim. P. 11 (requiring a colloquy before a court accepts a

guilty or no-contest plea) with Fed R. Crim. P. 10 (not requiring a colloquy before a court

enters a plea of not guilty). Indeed, all that a court need do at arraignment to fulfill its

obligations as neutral arbiter is ensure that the defendant has a copy of the indictment,

read the charge to the defendant, and ask the defendant to plead.

       Having prosecutors advise incarcerated, represented defendants about their legal

options is inapposite to basic principles of criminal justice. The Model Rules of Professional

Conduct advise against any lawyer speaking to, let alone counseling, a represented party.

See ABA Model Rules of Professional Conduct 4.4; Restatement of the Law (3d) Governing

Lawyers § 99(1) (generally prohibiting lawyers from speaking to represented persons). Of

course, Ms. Wickham is not accusing the government of engaging in any misconduct, as the

court instructed the government to advise her about her rights, the charge she faces, and

the various pleas she could enter. Nonetheless, having the prosecutor counsel the defendant

about how she could plead and what her various options mean invades Ms. Wickham’s

relationship with her counsel, invokes power dynamics that are detrimental to both Ms.

Wichkam’s interests and an equitable proceeding, and obscures roles in an adversarial

system of justice. Doubtless Ms. Wickham will speak to her counsel about the government’s
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motivations—in bringing this case two years after investigating it, in seeking her detention,

and in potentially discussing a plea offer. By having the prosecutor counsel Ms. Wickham,

the court blurred the lines between which counsel was responsible for representing Ms.

Wickham: the government or her attorney. The Court was in error by overruling Ms.

Wickham’s objection to the government counseling her at arraignment.

       Finally, during Ms. Wickham’s detention hearing, the court declined to order the

government to produce any statements of the witness it called in support of its motion for

detention. The Rules clearly require the court to issue such an order, and no law supports

the court’s decision not to do so. See Fed. R. Crim. P. 26.2(a) (“[a]fter a witness other than

the defendant has testified on direct examination, the court, on motion of a party who did

not call the witness, must order an attorney for the government . . . to produce . . . any

statement of the witness that is in their possession . . .”) (emphasis added).

       Ms. Wickham’s hearing was unfair. It did not comport with the laws, rules, or

regulations enacted to ensure it was fair. It was not scheduled promptly; she was

interviewed by pretrial services without a lawyer in violation of the local CJA Plan; she was

not given a lawyer “promptly,” also in violation of the CJA Plan; the Court asked the

government to counsel Ms. Wickham over her attorney’s objections; and the Court refused

to enforce blackletter law. All of these errors preceded the court’s failure to account for how

her past two years of law-abiding behavior, her stable residence, her job, her support for her

child, and her drug-addiction treatment demonstrate that she can be released while

reasonably assuring the safety of the community.

                      The Court erred by detaining Ms. Wickham.

       Courts cannot detain individuals prior to trial unless they find that “no condition or

combination of conditions will reasonably assure the appearance of the person as required

and the safety of any other person and the community . . . .” See 18 U.S.C. § 3142(e)
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(emphasis added). Although the law establishes presumption of detention in this case, that

presumption merely shifts the burden of production to a defendant to produce “some

evidence” to rebut it. See, e.g., United States v. O’Brien, 895 F.2d 810 (1st Cir. 1990)

(holding that the prosecutor bears the burden of persuasion at all times while a defendant

simply bears a burden of production, which entails producing “some evidence” under

3142(g)); United States v. Dominguez, 783 F.2d 702, 707 (7th Cir. 1986) (explaining that the

defendant rebuts the presumption by producing “some evidence” under 3142(g) and

concluding that, after it is rebutted “[the presumption[ remains in the case as an

evidentiary finding militating against release, to be weighed along with other evidence

relevant to factors listed in 3142(g)”).

       The court did not consider at all how Ms. Wickham’s law-abiding behavior for the

past two years, after police executed a search warrant on her home, demonstrates that

conditions of release can reasonably assure the safety of the community. Because it failed to

do its duty, the court never heard that the local family court had determined that Ms.

Wickham was not a danger to her child in her own home, or considered how her detention

would deeply disrupt her most immediate community. Nor did the court consider how her

participation in substance abuse treatment significantly militates against any concern that

her release would pose any future danger. Finally, the court failed to consider how the past

two years of law-abiding behavior refutes the government’s argument that her release back

to her home would pose an unmitigable risk of danger to the public. In short, the Court

relied too heavily on the presumption of detention, did not meaningfully consider mitigating

factors, and unfairly focused on dated allegations of criminal activity. This Court should

revoke the District Court’s order of detention and order that Ms. Wickham be released on

the conditions recommended by pretrial services.
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                                       Conclusion

       The Magistrate erred by detaining Ms. Wickham and not correctly weighing the

factors under 18 U.S.C. § 3142(g). The Court also failed to provide Ms. Wickham a fair or

prompt hearing. Because the Court declined to enforce the Rules of Criminal Procedure,

this court should order Ms. Wickham’s release or schedule an immediate hearing that

comports with the Federal Rules of Criminal Procedure and correctly consider all of the

circumstances relevant under the Bail Reform Act.

Respectfully submitted,


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